 

Case 4:17-cr-00187-Y Document 55 Filed 09/12/18 Page 1 of 1 Page|D 117

UNITED STATES DISTRICT COU T
NORTHERN DISTRICT OF TEX S

 

 

FORT WORTH DIVISION
MINUTE ORDER

Type hearing: Guilty Plea at Arraignrnent - NON-EVI ENTF§),W E;B;H£Ei:oukr
Case number: 4:17-CR-00187-Y l DeP'lfy
Defendant: DAVID ALLEN DEVANEY, JR (01), Sworn
Court Reporter: Ana Warren
lnterpreter: w / H"
US Attorney: Chris Wolfe-DOJ -~Y'Y`\`t l<C \DO ( ley
Defense Attorney: Brian Daniel Poe
Tirne in Court: l 5 m `\ n '
Judge: Magistrate Judge Hal R. Ray, Jr.
Date of hearing: Septernber 12, 2018
Status: DAVID ALLEN DEVANEY, JR (Ol) enters a plea of guilty as to count

one charged in the one-count Superseding information
Deft TBS: lO:OO a.rn. Select date here

PSI Referral Form to defendant’s attorney.
Scheduling order to follow

Deft’S detention continued

Hearing concluded: Yes

Deputy Clerk: Julie Harwell

